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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

JOHN THOMAS TALLEY,                               )
                                                  )
                      Plaintiff,                  )
                                                  )
vs.                                               )      Case No. CIV-14-853-D
                                                  )
TIME, INC., d/b/a Sports Illustrated              )
Magazine, et al.,                                 )
                                                  )
                      Defendants.                 )


                                         ORDER

       Before the Court is Defendants’ Daubert Motion in Limine and Motion to Strike

Report of Terry J. Westemeir [Doc. No. 64], filed pursuant to Fed. R. Civ. P. 26(a)(2) and

Fed. R. Evid. 702. 1 Defendants seek to exclude all testimony of Plaintiff’s accounting

expert, Terry J. Westemeir, because his report fails to satisfy the disclosure requirements

of Rule 26(a)(2)(B). Further, Defendants assert that any testimony regarding the subject

matter suggested by the report – the financial and economic impact of publishing the

magazine article underlying Plaintiff’s false light invasion of privacy claim – is

inadmissible because Mr. Westemeir is not qualified as an expert in that area, he discloses

no particular methodology for formulating his opinions, and his testimony would be

irrelevant to the trial issues.    Plaintiff has filed a timely response [Doc. No. 68], and

Defendants have replied [Doc. No. 74]. The Motion is fully briefed and ripe for decision.



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          Defendants also invoke Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
(1993), and Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999).
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       Not cited in the Motion but argued in the supporting brief, Defendants first seek an

order excluding evidence pursuant to Fed. R. Civ. P. 37(c)(1). See Defs.’ Mot. at 4. This

rule provides: “If a party fails to provide information or identify witnesses as required by

Rule 26(a) or (e), the party is not allowed to use that information or witness to supply

evidence on a motion, at a hearing, or at a trial, unless the failure was substantially justified

or is harmless.” Defendants argue that Mr. Westemeir fails to disclose his expert opinions

as required by Rule 26(a)(2)(B), and that Plaintiff has no justification for the nondisclosure

and has prejudiced Defendants’ ability to prepare a defense. This aspect of Defendants’

Motion is subject to LCvR37.1, which provides: “With respect to all motions . . . relating

to discovery pursuant to Fed. R. Civ. P. 26 through 37 and 45, the court shall refuse to hear

any such motion or objection unless counsel for the movant first advises the court in writing

that counsel personally have met and conferred in good faith and, after a sincere attempt to

resolve differences, have been unable to reach an accord.” 2 Defendants’ Motion fails to

comply with LCvR37.1, and therefore, the Court declines to consider their request for a

discovery sanction under Rule 37.

       Turning to Defendants’ Daubert Motion, Plaintiff relies solely on the substance of

Mr. Westemeir’s report to satisfy Plaintiff’s burden under the Federal Rules of Evidence

to establish the admissibility of his expert’s opinions. See United States v. Nacchio, 555

F.3d 1234, 1241 (10th Cir. 2009) (en banc) (“The proponent of expert testimony bears the



       2
            In certain circumstances a personal conference is not required, but LCvR37.1 then
requires that “the movant’s counsel represent[] to the court in writing that movant’s counsel has
conferred with opposing counsel by telephone.”

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burden of showing that its proffered expert’s testimony is admissible.”). Thus, the alleged

deficiencies in Mr. Westemeir’s report are pertinent to the Court’s analysis of Defendants’

Motion, and a discussion of them is useful for this purpose.

       Mr. Westemeir prepared a report in the form of a letter to Plaintiff’s counsel

dated June 5, 2017, which was the final deadline for Plaintiff’s expert disclosures. See

3/15/17 Order [Doc. No. 47]. In the introductory paragraph, Mr. Westemeir states:

       It is my understanding that discovery in this matter is ongoing and much of
       the information necessary for me to conduct my analysis is not yet available.
       Therefore, I am submitting this as a preliminary report and reserve the right
       to amend this report, as necessary, as additional information and data become
       available.

See Def.’s Mot., Ex. 1 [Doc. No. 64-1] at 1. 3 Then, after stating background information

regarding Sports Illustrated Magazine (apparently obtained from internet websites, such as

Wickipedia, see id., Ex. A), and setting out a press release regarding the subject article,

Mr. Westemeir states he has requested certain categories of information “[t]o perform my

analysis and give opinion on the economic and financial impact of publishing the five-part

SI investigative report” underlying Plaintiff’s tort claim. Id. at 5. Mr. Westemeir proceeds

by presenting a two-paragraph statement of “Analysis and Conclusion,” which states in full

as follows:

              My analysis of the financial and economic impact of the publication
       of the five­part “The Dirty Game” investigative report (the “SI Report”) on
       Time, Inc. and SI is incomplete.




       3
          Plaintiff submitted the same document as an exhibit to his response brief. See Pl.’s Resp.
Br., Ex. 1 [Doc. No. 68-1]. For convenience, only the first submission is cited in this Order.

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              Information received will be analyzed to determine the effect of the
       promotion and publication of the SI Report on subscriptions, rack sales and
       advertising. Specifically,

              • Analysis of subscription data will be designed to ascertain,
                conclude and opine on whether the SI Report had the effect of
                increasing or maintaining subscription levels.

              • Analysis of subscription and rack sale data will be designed to
                ascertain, conclude and opine on whether SI sales were enhanced
                by the promotion and publication of the SI Report.

              • Analysis of the financial data will be designed to ascertain,
                quantify, conclude and opine on the enhancement and contribution
                of profitability realized by the promotion and publication of the SI
                Report both in terms of the impact of the publication of the
                individual installments of the SI Report and in terms of the general
                enhancement and contribution to earnings.

              • Analysis of advertising revenue and rate card data, for the SI Report
                and SI weekly issues, will be designed to ascertain, quantify,
                conclude and opine on the impact of advertising dollars gained by
                SI by promotion and publishing of the SI Report and determination
                and quantification of any short-term and/or long-term impact of
                advertising rates and revenues achieved by SI.

              • Analysis of financial and advertising data will be designed to
                ascertain, quantify, conclude and opine on the impact of the SI
                Report on the print versions (parts one and five) and SI’s SI.com
                programing.

Id. at 5-67. Mr. Westemeir has not amended his report or provided any supplemental

statement of analysis or opinions.

       The Supreme Court’s Daubert decision has been codified in Fed. R. Evid. 702,

which sets forth the standards for admissibility of expert opinions and defines the trial

court’s gatekeeper role. As explained by the court of appeals:

              Under Rule 702, the district court must satisfy itself that the proposed
       expert testimony is both reliable and relevant, in that it will assist the trier of

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       fact, before permitting a jury to assess such testimony. In determining
       whether expert testimony is admissible, the district court generally must first
       determine whether the expert is qualified by knowledge, skill, experience,
       training, or education to render an opinion. Second, if the expert is
       sufficiently qualified, the court must determine whether the expert’s opinion
       is reliable by assessing the underlying reasoning and methodology, as set
       forth in Daubert.

Nacchio, 555 F.3d at 1241 (internal quotations and citations omitted).

       In this case, it is unclear from Mr. Westemeir’s report whether his accounting

expertise qualifies him to opine about the financial and economic impact of Defendants’

publication of a particular journalistic report on overall magazine sales, advertising and

sales revenue, and general earnings and profitability of Sports Illustrated or Time, Inc. See

Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965, 970 (10th Cir. 2001) (an expert

must stay “within the reasonable confines of his subject area”) (internal quotation omitted).

It is abundantly clear, however, that Mr. Westemeir has not reached any opinions or

provided any supporting information that would permit the Court to evaluate

Mr. Westemeir’s proposed testimony and determine whether it is reliable and relevant to

the issues in the case. Mr. Westemeir merely states a plan of study that he proposes to

perform if the requested information is provided.

       Therefore, because the Court is unable to perform its gatekeeping role, the Court

cannot authorize Mr. Westemeir to testify as an expert in support of Plaintiff’s case based

on the present record and Mr. Westemeir’s report.

       IT IS THEREFORE ORDERED that Defendants’ Daubert Motion in Limine [Doc.

No. 64] is GRANTED.



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IT IS SO ORDERED this 27th day of February, 2018.




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